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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                               MINUTES OF PROCEEDINGS


NEWARK                                                             DATE: October 26, 2023

JUDGE: Susan D. Wigenton

COURT REPORTER: Joanne Sekella

DEPUTY CLERK: Carmen D. Soto

TITLE OF CASE:                                                     Docket# 18-CR-655
U.S.A. v. FRED DAIBES and MICHAEL MCMANUS

APPEARANCES:
Elaine Lou, AUSA for the Govt
Larry Lustberg, Esq. (Retained) for Deft, Fred Daibes
Anne M. Collart, Esq. (Retained) for Deft, Fred Daibes
John C. Whipple, Esq. (Retained) for Deft, Michael McManus


NATURE OF PROCEEDING: STATUS CONFERENCE/HEARING

Both defendants present.

Status conference held with attorneys in Chambers.

Hearing held on defendant Michael McManus’ motion for reconsideration [ECF #109].
Ordered motion denied.
Order to be filed.

Defendant, Fred Daibes sworn.
Court conducted a colloquy on Defendant, Fred Daibes regarding potential conflict of interest of
his attorney’s representation.
Hearing to be continued on 11/16/2023 at 12:00 p.m.

Time Commenced: 11:15 a.m.
Time Adjourned: 12:00 p.m.
Total time: 45 mins.

Cc: Chambers                                               Carmen D. Soto
                                                           Deputy Clerk
